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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

LINN G. ALEXANDER,

             Plaintiff                        Case No. 2:21-cv-12969
                                              District Judge Victoria A. Roberts
v.                                            Magistrate Judge Anthony P. Patti

NATIONWIDE CREDIT, INC.,

           Defendant.
___________________________________/

                         INITIAL SCHEDULING ORDER

A.    Introduction

      This lawsuit alleges violations of the Fair Debt Collection Practices Act

(FDCPA) and the Michigan Occupational Code. (ECF No. 1.) Defendant filed an

answer on March 8, 2022. (ECF No. 10.)

      Recently, the parties – each represented by counsel – filed a joint discovery

plan. (ECF No. 15.) Although a scheduling conference was noticed for May 19,

2022, it has since been cancelled and Judge Roberts has referred the case to me for

pretrial matters, excluding dispositive motions. (ECF Nos. 12, 16.) Pursuant to

Fed. R. Civ. P. 16(b)(1)(A), the Court opts to dispense with holding a Rule 16

conference at this time, finding that the Joint Discovery Plan adequately covers the

issues that would have been addressed at such a conference.

      It is now appropriate to enter a scheduling order.

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B.    Initial Scheduling Order

      Consistent with the joint discovery plan, the Court establishes the following

schedule in accordance with Federal Rule of Civil Procedure 16(b):

     YOU MAY RECEIVE NO FURTHER NOTICE OF THESE DATES
                  EVENT/ITEM                                   DEADLINE
 Amendment of pleadings                                       June 27, 2022
 Discovery Cut-off (completion)                            September 23, 2022
 Settlement conference                                October 4, 2022 at 1:30 p.m.
 Dispositive motions                                       November 23, 2022
 Expert disclosures                                  In accordance with Fed. R. Civ.
                                                               P. 26(a)(2)
 Final Pretrial Conference                                  To be determined
 Trial                                                      To be determined

The parties are also advised of the following:

          I.   All parties are required to adhere to Judge Patti’s Practice Guidelines,
               which can be accessed at
               https://www.mied.uscourts.gov/index.cfm?pageFunction=chambers&j
               udgeid=51.

         II.   Computation of time under this order and under any notice of any
               scheduling order or notice in this cause shall be in conformity and
               accordance with Federal Rule of Civil Procedure 6(a).

      III.     DISCOVERY. Discovery must be completed by the discovery cut-off
               date, after which, this Court will not order discovery to take place.
               All discovery shall be served sufficiently in advance of the discovery
               cutoff to allow the opposing party adequate time to serve responses
               under the Federal Rules of Civil Procedure prior to the close of
               discovery. Parties may agree to extend the deadlines by submitting a


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              joint motion with a proposed order to the Court for consideration.
              The extension should not affect the other scheduled dates.

        IV.   DISPOSITIVE MOTIONS. No party may file more than one motion
              for summary judgment without obtaining leave of court.
              In motions filed under Rule 56, the moving party shall serve and file:
              1) any affidavits and other materials referred to in Fed. R. Civ. P.
              56(e) and 2) a supporting memorandum of law in strict compliance
              with E.D. Mich. LR 7.1. The motion must begin with a “Statement
              of Material Facts” consisting of separately numbered paragraphs
              briefly describing the material facts underlying the motion, sufficient
              to support judgment. Proffered facts must be supported with
              citations to the pleadings, interrogatories, admissions, depositions,
              affidavits, or documentary exhibits. Citations should contain page
              and line references, as appropriate.1
              The full text of any source cited should be filed with the Court in a
              Fact Appendix. The Fact Appendix shall contain an index, followed
              by the tabbed exhibits. Chambers’ copies of Fact Appendices of
              more than 20 pages must be separately bound and include a cover
              sheet identifying the motion to which they are appended. All pages
              from the same deposition or document should be at the same tab.
              The Statement of Material Facts counts against the page limit for the
              brief. No separate narrative facts section shall be permitted.
              Likewise, a party opposing a Rule 56 Motion shall serve and file: 1)
              any opposing affidavits and other materials referred to in Fed. R. Civ.
              P. 56(e) and 2) a supporting memorandum of law in strict compliance
              with E.D. Mich. LR 7.1. The response to a Rule 56 Motion must
              begin with a “Counter-statement of Material Facts” stating which

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    Examples of movant’s separate material factual statements:
        1. Plaintiff Jones worked for ABC Corp. in an at-will position from 1999
        until his termination in 2005. (DE 34-7 at 10.)


        25. ABC Corp. Human Resources Director Smith testified that the only
        reason Jones was terminated was repeated tardiness. (DE 34-9 at 32.)



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              facts are admitted and which are contested. The paragraph
              numbering must correspond to moving party’s Statement of Material
              Facts. If any of the moving party’s proffered facts are contested, the
              non-moving party must explain the basis for the factual
              disagreement, referencing and citing record evidence.2 Any
              proffered fact in the movant’s Statement of Material Facts that is not
              specifically contested will, for the purpose of the motion, be deemed
              admitted. In similar form, the counter- statement may also include
              additional facts, disputed or undisputed, that require a denial of the
              motion.
              Counsel are discouraged from employing elaborate boilerplate
              recitations of the summary judgment standard or lengthy string
              citations in support of well-established legal principles. Instead,
              counsel should focus their analysis on a few well-chosen cases,
              preferably recent and from controlling courts. Counsel are
              encouraged to supply the Court with copies of their main cases, with
              the relevant passages highlighted and tabbed. Where unpublished
              opinions or opinions published only in a specialty reporter are cited,
              copies of these cases must be submitted with the briefs.

        V.    ORAL ARGUMENT ON MOTIONS. Parties who do not respond to
              motions in a timely fashion, and in conformance with the local rules
              and guidelines, may not be permitted to argue before the Court during
              oral argument.




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    Examples of non-movant’s corresponding factual statements:
        1. Plaintiff admits that he worked for ABC Corp. in an at-will position, but
        the commencement of employment was in 1997. (DE 34-7 at 12.)

        25. Plaintiff admits that Human Resources Director Smith testified at page 5
        that Jones was terminated for tardiness, however Smith also agreed that he
        said in an email to ABC Corp. Vice President Brown that Jones should
        “move out” since he was “getting along in years.” (DE 34-9 at 14.)


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IT IS SO ORDERED.


Dated: May 17, 2022
                                  ANTHONY P. PATTI
                                  UNITED STATES MAGISTRATE JUDGE




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